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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 TQ Delta, LLC,
              Plaintiff,

 v.                                         Civil Action No.: 2:21-CV-00310-JRG

 CommScope Holding Company, Inc., et al.,   JURY TRIAL DEMANDED
            Defendants.




                            TQ DELTA, LLC’S
         SUR-REPLY TO COMMSCOPE’S MOTION FOR PARTIAL SUMMARY
        JUDGMENT TO LIMIT DAMAGES BASED ON 35 U.S.C. § 286 (DKT. 340)
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       Defendant’s Reply attacks a theory that TQ Delta is not advancing. The Reply claims that

TQ Delta alleges that sales prior to the damages period are the underlying act of direct

infringement. That allegation is wrong. As laid out in TQ Delta’s response, TQ Delta alleges that

the use of these products by Defendant’s customers during the damages period is an independent

act of direct infringement. And Defendant’s inducement of and contribution to that use—again,

acts that occurred during the damages period—is an independent basis for liability. There is

sufficient evidence to reach a jury on each step, evidence the Reply largely does not address.

       The Reply (like the Motion) sets up this strawman to argue that this case is like Roche

Diagnostics Corp. v. Meso Scale Diagnostics, LLC, 30 F.4th 1109 (Fed. Cir. 2022). But this case

is not Roche, as TQ Delta detailed in its response. TQ Delta is not alleging a “continuing impact”

theory based on the sale of products prior to the damages period. Nor is it alleging inducement

based on acts that occurred prior to the damages period.

       TQ Delta is instead pointing to acts that occurred within the damages period as the basis

of its claims, as in Sysmex. There, as Defendant quotes, the Court looked to “(1) did [defendant]’s

customers . . . directly infringe . . . and (2) if so, did [defendant] knowingly induce those customers

to take infringing actions . . . in that same relevant time period.” Reply at 4 (quoting Sysmex Corp.

v. Beckman Coulter, Inc., 2022 WL 1786526, at *12 (D. Del. May 26, 2022) (Defendant’s

emphasis removed)). TQ Delta has provided sufficient evidence on each prong, just like the

patentee in Sysmex, for a jury to hear its claims. Defendant’s Motion should be denied.

I.     There Is Sufficient Evidence Of Direct Infringement During The Damages Period

       Defendant no longer claims—like it did in its Motion—that all its products sold prior to

the damages period could be sitting on a shelf and not deployed in its customers’ networks. The

evidence exposed that claim for what it was: Defendant’s internal presentations showed that

                  of Accused Products sold before August 15, 2015 remained in the field in 2016.


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The Reply does not address that evidence, effectively conceding the point.

       That should end the inquiry. As TQ Delta explained—and Defendant ignored—“use” of

system claims requires putting the system as whole into service, with a focus on each element of

the claimed system. Resp. at 6–7 (quoting Centillion Data Sys., LLC v. Qwest Communs. Int’l,

631 F.3d 1279, 1284 (Fed. Cir. 2011)). The claims here—which Defendant also does not

address—recite systems that are “capable of,” “configurable to,” or “operable to” to provide

certain functionality. Id. at 7. It is undisputed in the Reply that Defendant’s customers have “used”

such systems during the damages period, including systems deployed in the field that were sold

before August 13, 2015. There is sufficient evidence of direct infringement.

       Defendant does not address this theory. It instead attacks a theory that TQ Delta does not

raise—arguing that TQ Delta claims that “pre-2015 sales of products that are (allegedly) capable

of infringement” is the act of direct infringement. Reply at 2 (emphasis in original). TQ Delta is

not raising that theory; instead, it points to Defendant’s customers’ use of such apparatuses during

the damages period. And it is undisputed in the Reply that such use has occurred.

       Despite this, Defendant claims that TQ Delta must show “actual use of the accused DSL

functionality” and that there is no evidence of such use. Reply at 2. That is wrong under the law.

Defendant again rebrands apparatus claims as method claims requiring the performance of each

method step. This is contrary to even the new cases cited in Defendant’s Reply. See, e.g., Cross

Med. Prods. v. Medtronic Sofamor Danek, Inc., 424 F.3d 1293, 1311-12 (Fed. Cir. 2005) (“To

infringe an apparatus claim, the device must meet all of the structural limitations.”) (emphasis

added) (collecting authority) (cited at Reply at 2). All that is required for “use” is that the system

with the structural limitations (e.g., a transceiver configured to perform certain operations) is put

into service, regardless of whether the system actually provides DSL service.




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       Defendant is also wrong as a matter of fact. As TQ Delta recounted, there is substantial

evidence that the products—designed to              DSL requirements—have, in fact, been used to

provide DSL service. See, e.g., Resp. at 8–12. Again, while Defendant speculates that some of its

products might be deployed without using DSL, it does not provide specific evidence of that

occurring for the products at-issue. And the evidence TQ Delta submitted shows the opposite, that

it is more likely than not that the products were deployed for DSL service (that is their intended

use). Defendant’s claim that none of its DSL products that remained in the field during the

damages period have been used for DSL does not stand up to common sense or the evidence.

II.    There Is Sufficient Evidence Of Indirect Infringement During The Damages Period

       Defendant’s Reply also does not address TQ Delta’s evidence of indirect infringement.

The Reply first narrows the inducement inquiry via the direct infringement inquiry: incorrectly

requiring inducement of “using DSL functionality” and a corresponding intent to induce that “use.”

Reply at 3. The act of direct infringement is using the CPE device that is capable of, configurable

to, or operable to provide DSL functionality. Defendant does not dispute that its interacting with

customers and providing repair and software update services during the damages period is an act

inducing the use and contributing to the use of Defendant’s CPE devices—including those sold

before August 15, 2015. That use is a new act of direct infringement.

       But even under Defendant’s narrower (and incorrect) focus—requiring inducement of

using DSL functionality and a corresponding intent—TQ Delta still provided sufficient evidence

on those prongs. TQ Delta pointed to specific DSL functionalities for which Defendant received

                                               during the damages period (in late 2015 and early

2016) that caused a resulting use of that functionality once the product was                      .

See, e.g., Resp. at 15 (collecting example evidence). Providing those

shows an intent that Defendant’s customers use the                       functionality. Defendant


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does not address that theory or the evidence in its Reply.

       Instead, Defendant again responds to an argument that TQ Delta does not make. Defendant

claims that TQ Delta argues that “inducing actions may occur after the direct infringement.” Reply

at 4. But, again, that is not TQ Delta’s theory. TQ Delta’s theory is that the acts of inducement

and contributory infringement (e.g.,                               ) later caused an infringing use,

as was the case in Sysmex. For example, as detailed above, TQ Delta pointed to

                                                 late 2015 and early 2016. Resp. at 15. These acts

caused the devices receiving those                           updates—including those sold before

August, 2015—to then perform the accused DSL functionality. This use is a new act of direct

infringement resulting from the act of indirect infringement.

       Recognizing that the                              evidence meets Sysmex, Defendant closes

its Reply with a new argument: that the evidence “say[s] nothing about CommScope’s subjective

intent to knowingly induce infringement” under Global-Tech Appliances, Inc. v. SEB S.A., 563

U.S. 754, 765–66 (2011). Reply at 4–5. But Defendant failed to challenge to the “knowledge”

element of inducement in its Motion and thus waived the issue. See, e.g., Loyalty Conversion Sys.

Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 795, 811 (E.D. Tex. 2014) (“Failure to raise an argument

in a motion waives the argument; raising it for the first time in a reply memorandum is too late.”).

       Should the Court consider Defendant’s new argument, there is substantial evidence that

Defendant knew its acts caused infringement. Defendant knew about TQ Delta’s patents and its

infringement by the beginning of the damages period, August 13, 2015.

       TQ Delta filed suit against Defendant in 2013, alleging infringement of a number of patents

that are also at-issue here (e.g., patents in Families 2, 3, and 6). See, e.g., Amended Complaint

(Dkt. 6), TQ Delta, LLC v. 2Wire Inc., No. 1:13-CV-01835 (D. Del. Nov. 20, 2013); Opening Brief




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in Support of Motion for Leave to File a Third Amended Complaint (Dkt. 49), TQ Delta, LLC v.

2Wire Inc., No. 1:13-CV-01835 (D. Del. June 24, 2014) (detailing inducement and contributory

infringement allegations). By 2015, Defendant received TQ Delta’s infringement contentions and

served noninfringement contentions. Notice of Service (Dkt. 88), TQ Delta, LLC v. 2Wire Inc.,

No. 1:13-CV-01835 (D. Del. Mar. 23, 2015). TQ Delta has also been in ongoing discussions with

Defendant since

                                                                             . See, e.g., Exh. 11

(TQD_TXCS-00002961). By 2019, Defendants had two adverse jury verdicts in Delaware. These

facts are sufficient to support TQ Delta’s indirect infringement claims under Global-Tech. See,

e.g., Walker Dig., LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 565 (D. Del. 2012) (““[A]

defendant’s receipt of the complaint and decision to continue its conduct despite the knowledge

gleaned from the complaint satisfies the requirements of Global-Tech.”); Script Sec. Sols. L.L.C.

v. Amazon.com, Inc., 170 F. Supp. 3d 928, 937 (E.D. Tex. 2016) (agreeing with courts holding that

“a complaint provides sufficient notice of the existence of the patent-in-suit to support a claim of

indirect infringement as to conduct following the filing of the initial complaint in the case”);

Monkeymedia, Inc. v. Twentieth Century Fox Home Entm’t, LLC, 226 F. Supp. 3d 693, 708 (W.D.

Tex. 2016) (“Defendants have been litigating the ’158 Patent for years and were involved in the

very re-examination that gave rise to the asserted claims. The Court is therefore unconvinced by

Defendants’ argument that they could not anticipate—let alone possess actual knowledge—that

the users would perform the claimed methods and infringe . . . .”).

III.   Conclusion

       For the foregoing reasons, TQ Delta requests that the Court deny Defendant’s Motion.




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Dated: January 24, 2023
                                          Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document and all attachments thereto are

being filed electronically in compliance with Local Rule CV-5(a). As such, this document is

being served this January 24, 2023 on all counsel of record, each of whom is deemed to have

consented to electronic service. L.R. CV-5(a)(3)(A).

                                                    /s/ Christian J. Hurt___________________
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